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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        )       CASE NO. 17-71936-JWC
                                              )
VALENCIA CHEVILLA JONES,                      )       CHAPTER 13
                                              )
         Debtor                               )

            NOTICE OF FILING OF MODIFICATION OF CONFIRMED PLAN,
               DEADLINE FOR FILING WRITTEN OBJECTIONS AND
             HEARING DATE AND TIME IF OBJECTION IS TIMELY FILED

      To: All creditors and Chapter 13 Trustee:
______________________________________________________________________________

      PROPOSED MODIFICATION: The plan is increased to $910.00 semi-monthly.
______________________________________________________________________________

       PLEASE TAKE NOTICE that Debtor has filed and served on you a proposed
modification to the confirmed plan in this case. Pursuant to Rule 3015(g) of the Federal Rules of
Bankruptcy Procedure, any creditor or other party in interest opposing this proposed
Modification must file that objection in writing with the Court on or before the following
deadline.

        DEADLINE FOR FILING OBJECTION: Twenty-three (23) days after the date of
service of this proposed Modification, which date of service is March 7, 2019; if the twenty-
third day after the date of service falls on a week-end or holiday, the deadline is extended to the
next business day.

         PLACE OF FILING:             Clerk, United States Bankruptcy Court
                                      Room 1340, United States Courthouse
                                      Richard B. Russell Building
                                      75 Ted Turner Drive, SW
                                      Atlanta, GA 30303-3367

If you mail an objection to the Court for filing, you must mail it early enough so the Court will
receive it on or before the date stated above.

         You must serve a copy on the undersigned at the address stated below and on the Debtor
at:
                       Valencia Chevilla Jones
                       3981 South River Lane
                       Ellenwood, GA 30294
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        PLEASE TAKE FURTHER NOTICE that if an objection to the proposed Modification
is timely filed, the Court will hold a hearing on the modification on April 9, 2019 at 2:30 p.m. in
Courtroom 1203, U.S. Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia. If no objection
is timely filed, the proposed Modification will be effective pursuant to 11 U.S.C. §1329(b)(2)
as a part of the Confirmed Plan without further order or notice.


       This 7th day of March, 2019.



                                             _______________/s/_________________
                                             A. Allen Hammond
                                             Attorney for the Debtor
                                             Georgia Bar No. 321659
Hammond & Hammond, P.C.
122 South Main Street
Jonesboro, GA 30236
(770) 603-6572
allen@hhdebthelp.com
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                                  CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that I have this day served a true and correct copy of
NOTICE OF FILING OF MODIFICATION OF CONFIRMED PLAN, DEADLINE FOR
FILING WRITTEN OBJECTION AND HEARING DATE AND TIME IF OBJECTION IS
TIMELY FILED, by depositing same in the United States Mail with correct postage addressed to
the following:

                       All parties on the attached Mailing Matrix.



This 7th day of March, 2019.


                                                      ______________/s/_______________
                                                      A. Allen Hammond
                                                      Attorney for the Debtor
                                                      Georgia Bar No. 321659
Hammond & Hammond, P.C.
122 South Main Street
Jonesboro, GA 30236
(770) 603-6572
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